                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                ST. JOSEPH DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )
                                                       )
vs.                                                    )    Case No. 15-06008-02-CR-SJ-GAF
                                                       )
ALAN CURTIS MACE,                                      )
                                                       )
                               Defendant.              )

                                             ORDER

       On October 27, 2016, Defendant appeared pursuant to Fed.R.Crim.P. 11, Local Rule
72.1(j)(27), and 28 U.S.C. § 636 and entered a plea of guilty to Count One of the Indictment
(doc. 1) before Chief United States Magistrate Judge Sarah W. Hays. The Defendant also
admitted the allegations of forfeiture, which include a money judgment to be entered against the
Defendant, as contained in the Indictment. On November 7, 2016, Judge Hays issued her Report
and Recommendation (doc. 291). Objections were due on or before November 25, 2016. No
objections were filed.
       Upon careful and independent review, this Court finds that defendant’s plea was
knowledgeable and voluntary and that the offense charged is supported by an independent basis
in fact containing each of the essential elements of such offense. Accordingly, this Court hereby
adopts and incorporates as its own Opinion and Order the Report and Recommendation of Chief
United States Magistrate Judge Sarah W. Hays.
       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and
defendant is adjudged guilty. The defendant’s sentencing hearing will be scheduled and the
parties notified of the date and time of sentencing.
       SO ORDERED.

                                                       s/ Gary A. Fenner
                                                       GARY A. FENNER, JUDGE
                                                       UNITED STATES DISTRICT COURT

DATED: November 28, 2016




       Case 5:15-cr-06008-GAF           Document 294       Filed 11/28/16    Page 1 of 1
